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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                   Case No. 1:20-CR-00080
       v.
                                                   Honorable Gary S. Feinerman
 CARTER BRETT



                              JOINT STATUS REPORT

      On December 8, 2020, the Court directed the parties to confer and report on

two issues: (1) whether a sentencing hearing may now be scheduled in this matter;

and (2) whether the March 15, 2020, status hearing should be rescheduled. ECF 29.

The United States and counsel for the defendant conferred and jointly report as

follows.

      First, in the view of the parties, it remains too soon to schedule the defendant’s

sentencing, due to the on-going nature of the government’s investigation, and the

need for the defendant’s on-going cooperation to be fully complete in order to be

properly evaluated prior to sentencing. Therefore, the parties request that the Court

continue to hold in abeyance the sentencing hearing and all sentencing-related

proceedings in this matter.

      Second, in light of the government’s on-going investigation, as well as the on-

going pandemic, the parties request that the Court reschedule the March 15, 2021,

status hearing in this matter. The parties request that the Court (a) set this matter

for a status conference on June 15, 2021, at 10:15 a.m.; (b) waive the defendant’s

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presence pursuant to Federal Rule of Criminal Procedure 43(b)(3); and (c) conduct

this hearing by videoconference or teleconference in order to protect the health and

safety of the defendant, defense counsel, prosecutors, court staff, and the public by

reducing the number of in-person hearings to the greatest extent possible.



                                          Respectfully submitted,



__/s/ Elizabeth A. Homan________________       _________________________________________
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